3t8t2c1s         Case 2:19-cv-11887-SSV-JVM    Document 1-11 Filed 07/26/19 Page 1 of 2
                                         Drake & Beckler LLC Mail - Fwd: Hasselblad C' 'h



                   Here is a link to the video I took after I finished the last bit of tuning.                   EXHIBIT


                   https:li netorg83628-my.sharepoint.com/:f:iglpersonal/sales_coptersource
                   EpSAGSxq DVZN r1 AbZxRhSicBYigTzg HfVSqigaS I E DXTKw?e=xvXcVx




                   Copter Source
                   Byron Smith, President
                   phone: 832-572-3301
                   address: 10902 l-10 East, Suite 2 Baytown, TeXas77523
                   site: www.coptersource.com




                   From: Mike Swymn <rnswymn@gmail.com>
                   Sent: Saturday, October 6, zOtB 3:47 :28 PM
                   To: Byron Smith
                   Subject: Re: Hasselblad Crash

                   Did they know that this system had their RTK which was supposed to negate the
                   electromag netic nterference?
                                     i




                   On Oct 6,2018, at 3:34 PM, Byron Smith <byron@coptersource^com> wrote:


                          Here I was asking further to negate what I thought was the issue with
                          programming flight altitude with first waypoint away from take-off point and you
                          were correct, it is supposed to go to altitude first then go to the waypoint
                          horizontally.



                          Copter Source
                          Byron Smith, President
                          phone: 832-572-3301
                          address: 10902 l-10 East, Suite 2 Baytown, Texas77523
                          site : www.coptersou rce.com




                          From: Gary Arz
                          Sent: Saturday, September 29, 2018 1:02 AM
                          To: Syron Smith
                           Gc:
                          Subject: RE: Hasselblad Crash



                          The aircraft was indeed climbing while headed to Waypoint           1




                           ln normal operation the aircraft should take off and rise to the mission
                           prescribed altitude, then move to Waypoint      t   horizontally. But customers aircraft
                          did not act like this way, and we don't know why without the flight controller
                          data.

https://mail.google.com/mail/u/1?ik=0516e56'taU*u1"vv=pt&search=all&permthid=thread-f%3416231818848256665S4%7Cmsg-f%3A1627453264982...   U3
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                 Case 2:19-cv-11887-SSV-JVM    Document 1-11 Filed 07/26/19 Page 2 of 2
                                         Drake & Beckler LLC Mail - Fwd: Hasselblad C^h



                           Let's talk on Monday about the customers loss and see what we can do.




                           From : Byron Smith [mailto byron@coptersource.com]
                                                        :


                           Sent: Friday, September 28,2018 4:42PM
                           To: Gary Arz
                           Gc:
                           Subject: Re: Hasselblad Crash



                           At the "flipped over point" is where the customer stated it collided with the
                           vessel. Does the data show if the copter climbing in altitude while headed to
                           Waypoint 1?



                           ls it a normal operation for the copter to climb to mission prescribed altitude first
                           and then proceed to the Waypoint or will the craft take off, stabilize and then
                           proceed to the Waypoint while climbing to prescribed altitude?



                           ls there anything to offer the customer for his loss? Mainly the Hassleblad AGD
                           since fault cannot be determined and was not pilot error?



                           Thanks,



                           Byron

                           Sent from my iPhone


                           On Sep 28,2018, at6:22 PM, Gary Arz<gary.arz@dji.com> wrote:

                                   HiByron,


                                   The aftached accidental report was based from the flight records
                                   of the GS Pro app. lndeed it seems something went wrong and
                                   the customer did nothing wrong during the mission, but R&D can't
                                   really locate the cause without the flight controller data - and
                                   since the data is corrupted we'll not be able to know what exactly
                                   happened. They said it could've been a hardware, software,
                                   aircraft, controller setup or environmental issue like
                                   electromagnetic interference. There is no real way to give an
                                   accurate determination for this incident.



                                   Thank you




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